              Case 1:12-cv-07510-PAE Document 33 Filed 05/02/13 Page 1 of 4

                                                                             usnr sn~Y
                                                                             OOCU'IE~r
                                                                             ELECTRO" le\ tLY FILED
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             DOC#:
                                                                             DATE FILED:   ;
                                                                                               <I     I
                                                                                                    "'>' \ 2
------------------------------------------------------------------------){
SPACE E){PLORATION TECHNOLOGIES CORP.

                Plaintiff and Counter-defendant,                              1:12-cv 07510 (PAE)(KNF)

                          -v-                                                  REVISED CIVIL CASE
                                                                               MANAGEMENT PLAN
D.T. GRUELLE COMPANY GROUP, L.L.C.,                                             AND SCHEDULING
                                                                                     ORDER
                Defendant and Counterclaimant.

------------------------------------------------------------------------){
       This Revised Civil Case Management Plan (the "Plan") is submitted by the parties in
accordance with Fed. R. Civ. P. 26(f)(3) and Rule I.E. of the Court's Individual Rules and
Practices in Civil Cases.

1.       All parties do not consent to conducting all further proceedings before a Magistrate
         Judge, including motions and trial. 28 U.S.C. § 636(c). The parties are free to withhold
         consent without adverse substantive consequences.

2.       This case is to be tried to a jury.

3.       Amended pleadings may not be filed and additional parties may not be joined except with
         leave of the Court. Any motion to amend or to join additional parties shall be filed within
         thirty (30) days from the date of this Order. [Absent exceptional circumstances, thirty
         (30) days.]

4.       Initial disclosures, pursuant to Fed. R. Civ. P. 26(a)(1), shall be completed no later than
         fourteen (14) days from the date of this Order. [Absent exceptional circumstances,
         fourteen (14) days.]

5.       All fact discovery shall be completed no later than June 21, 2013. [A period not to
         exceed 120 days, unless the Court finds that the case presents unique complexities or
         other exceptional circumstances.]

6.       The parties are to conduct discovery in accordance with the Federal Rules of Civil
         Procedure and the Local Rules of the Southern District of New York. The following
         interim deadlines may be extended by the written consent of all parties without
         application to the Court, provided that all fact discovery is completed by the date set forth
         in paragraph 5 above.

         a.       Initial requests for production of documents to be served by February 18,2013.
         b.       Interrogatories to be served by February 18,2013.



SLC-6820950-1
              Case 1:12-cv-07510-PAE Document 33 Filed 05/02/13 Page 2 of 4




        c.        Depositions to be completed by June 21, 2013.
        d.        Requests to Admit to be served no later than April 16, 2013.

7.      a.       All expert discovery shall be completed no later than August 5, 2013.
                 [Absent exceptional circumstances, a date forty-five (45) days from the date in
                 paragraph 5, i. e., the completion of all fact discovery.]

        b.        No later than thirty (30) days prior to the date in paragraph 5, i.e., the completion
                  of all fact discovery, the parties shall meet and confer on a schedule for expert
                  disclosures, including reports, production of underlying documents and
                  depositions, provided that (i) expert report(s) of the party with the burden of proof
                  shall be due before those of the opposing party's expert(s); and (ii) all expert
                  discovery shall be completed by the date set forth in paragraph 7(a).

8.      All motions and applications shall be governed by the Court's Individual Rules and
        Practices, including the requirement of a pre-motion conference before a motion for
        summary judgment is filed. Pursuant to the authority of Fed. R. Civ. P. 16(c)(2), any
        motion for summary judgment will be deemed untimely unless a request for a pre-motion
        conference relating thereto is made in writing within fourteen (14) days of the date in
        paragraph 5, i.e., the close of fact discovery.

9.       All counsel must meet face-to-face for at least one hour to discuss settlement within
         fourteen (14) days following the close of fact discovery.

10.      a.       Counsel for the parties have discussed an informal exchange of information in aid
                  of early settlement of this case and have agreed upon the following:

                  Counsel for Plaintiff and Counter-defendant ("SpaceX") will send a letter to
                  Counsel for Defendant and Counterclaimant ("D.T. Gruelle") not later than five
                  (5) days from the date of this Order making a demand and setting forth the
                  specific bases of the demand. D.T. Gruelle will respond to this demand within
                  seven (7) days of receiving this demand through counsel stating the specific
                  bases for its response.

         b.       Counsel for the parties have discussed the use of the following alternate dispute
                  resolution mechanisms for use in this case: (i) a settlement conference before a
                  Magistrate Judge; (ii) participation in the District's Mediation Program; and/or
                  (iii) retention of a privately-retained mediator. Counsel for the parties propose the
                  following alternate dispute resolution mechanism for this case:

                  (i) a settlement conference before a Magistrate Judge




                                                    2
SLC-6820950-1
             Case 1:12-cv-07510-PAE Document 33 Filed 05/02/13 Page 3 of 4




        c.      Counsel for the parties recommend that the alternate dispute resolution
                mechanism designated in paragraph 1O(b), be employed at the following point in
                the case (e.g., within the next sixty days; after the deposition of plaintiff is
                completed (specify date); after the close of fact discovery):

                Sixty (60) days from the date of this Order

        d.      The use of any alternative dispute resolution mechanism does not stay or modify
                any date in this Order.

11.     Unless a party moves for summary judgment, or the Court orders otherwise, the Final
        Pretrial Order date is 30 days following the close of fact and expert discovery (whichever
        is later). By the Final Pretrial Order date, the parties shall submit a Joint Pretrial Order
        prepared in accordance with the undersigned's Individual Rules and Practices and Fed. R.
        Civ. P. 26(a)(3). Any motions in limine shall be filed after the close of discovery on or
        before the Final Pretrial Order date. If this action is to be tried before a jury, proposed
        voir dire, jury instructions and verdict form shall also be filed on or before the Final
        Pretrial Order date. Counsel are required to meet and confer on a joint submission of
        proposed jury instructions and verdict form, noting any points of disagreement in the
        joint submission. Jury instructions may not be submitted after the Final Pretrial Order
        date, unless they meet the standard of Fed. R. Civ. P. 51(a)(2)(A). If this action is to be
        tried to the Court, proposed findings of fact and conclusions of law should be submitted
        on or before the Final Pretrial Order date.

12.      Counsel for the parties have conferred and their present best estimate of the length of trial
         is: Counsel for Plaintiff and Counter-defendant estimates three (3) days exclusive of
         voire dire. Counsel for Defendant and Counterclaimant estimates five (5) days, including
         voir dire.

13.      [Other items, including those in Rule 26(f)(3).]
         Plaintiff and Counter-defendant proposes limiting each party to five (5) non-expert
         depositions, exclusive of a deposition pursuant to Federal Rule of Civil Procedure
         30(b)(6). Defendant and Counterclaimant is not willing to limit the number of depositions
         at this time.




                                                   3
SLC-6820950-\
             Case 1:12-cv-07510-PAE Document 33 Filed 05/02/13 Page 4 of 4




Respectfully submitted,                             Respectfully submitted,

COOLEYLLP                                           HUSCR BLACKWELL SANDERS, LLP


/s/ Douglas P. Lobel                                /s/ Daniel P. Jaffe
Douglas P. Lobel (DL-3894)                          Daniel P. Jaffe
11951 Freedom Drive                                 60 East 42 nd Street, Suite 4600
Reston, Virginia 20190                              New York, NY 10165
Telephone: (703) 456-8000                           Telephone: (212) 485-9805
Facsimile: (703) 456-8100                           Fax: (314)-480-1505
Email: dlobel@cooley.com                            Email: dan.jaffe@huschblackwell.com

Counsel for Space Exploration                       Counsel for D.T. Gruelle
Technologies Corp.                                  Company Group, L.L.C.




TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Court and, except as modified, is adopted as the Scheduling
Order of this Court in accordance with Fed. R. Civ. P. 16(b).

14.      [Other]




15.     The next Case Management Conference is scheduled for .J: ~7 I fS/ 2-" I ~        ;5.r' VV"\
        This ORDER may not be modified or the dates herein extended, except by further Order
of this Court for good cause shown. Any application to modify or extend the dates herein
(except as noted in paragraph 6) shall be made in a written application in accordance with
paragraph I.E of the Court's Individual Rules and Practices and shall be made no less than two
(2) business days prior to the expiration of the date sought to be extended.




                                                               United States District Judge

Dated:             New York, N W York

556508 IRE                   4
                          51~/'\

                                                4
SLC-6820950-1
